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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                )
                                         )
             vs.                         )          No. 3:07-CR-51 RM
                                         )
 BRANDON M. LOTTIE (01)                  )

                                      ORDER

       No objections have been filed to Magistrate Judge Nuechterlein’s findings

 and recommendations upon a plea of guilty issued on November 2, 2007 [Doc. No.

 57]. Accordingly, the court now ADOPTS those findings and recommendations,

 ACCEPTS defendant Brandon M. Lottie’s plea of guilty, and FINDS the defendant

 guilty of Count 1 of the Indictment, in violation of 21 U.S.C. § 846.

       SO ORDERED.

       ENTERED:      November 27, 2007



                                     /s/ Robert L. Miller, Jr.
                                Chief Judge, United States District Court
                                Northern District of Indiana
